                                                                                                                           Joel E.
                                                                                                                           Case    Tasca
                                                                                                                                2:22-cv-00709-APG-DJA    Document 12 Filed 06/24/22 Page 1 of 2
                                                                                                                           Nevada Bar No. 14124
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                                                                                                                         8                            UNITED STATES DISTRICT COURT
                                                                                                                         9                                   DISTRICT OF NEVADA
                                                                                                                         10   Faustino Patricio,                           Case No.    2:22-cv-00709-APG-DJA
                                                                                                                         11                    Plaintiff,                  JOINT MOTION AND PROPOSED
                                                                                                                         12                                                ORDER TO EXTEND TIME FOR
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                              v.
                                                                                                                                                                           JPMORGAN CHASE BANK, NATIONAL
                                                                                                                         13
                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070




                                                                                                                              Innovis Data Solutions, Inc.; Bank of        ASSOCIATION TO RESPOND TO
BALLARD SPAHR LLP




                                                                                                                              America, N.A.; and JPMorgan Chase            PLAINTIFF’S COMPLAINT
                                                                                                                         14   Bank, NA,
                                                                                                                         15                                                (First Request)
                                                                                                                                             Defendants.
                                                                                                                         16

                                                                                                                         17         The response of Defendant JPMorgan Chase Bank, National Association
                                                                                                                         18   (“Chase”) to Plaintiff Faustino Patricio’s Complaint (ECF No. 1) was due May 31, 2022.
                                                                                                                         19   Chase has requested, and Plaintiff has agreed, that Chase have up to and including
                                                                                                                         20   July 12, 2022 to respond to Plaintiff’s Complaint, to provide time for Chase to
                                                                                                                         21   investigate Plaintiff’s allegations and to prepare a response.
                                                                                                                         22         The deadline for Chase to respond to Plaintiff’s Complaint has lapsed. Although
                                                                                                                         23   Chase has processes in place for tracking new civil complaints to ensure Chase timely
                                                                                                                         24   responds to them, this particular complaint, through inadvertence, was not properly
                                                                                                                         25   tracked. By the time Chase identified the issue, it lacked sufficient time to move for
                                                                                                                         26   an extension within the May 31 deadline. Therefore, there is excusable neglect for
                                                                                                                         27   Chase’s request and the parties’ Joint Motion. See LR IA 6-1(a).
                                                                                                                         28   ///
                                                                                                                              Case 2:22-cv-00709-APG-DJA Document 12 Filed 06/24/22 Page 2 of 2



                                                                                                                                     This is the first request for an extension, and it is made in good faith and not
                                                                                                                         1
                                                                                                                              for purposes of delay.
                                                                                                                         2

                                                                                                                         3          Dated: June 23, 2022

                                                                                                                         4     BALLARD SPAHR LLP                            KIND LAW
                                                                                                                         5
                                                                                                                               By: /s/ Joel E. Tasca                        By: /s/ Michael Kind
                                                                                                                         6     Joel E. Tasca                                Michael Kind
                                                                                                                               Nevada Bar No. 14124                         Nevada Bar No. 13903
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                                                                                                                         9     JPMorgan Chase, National Association
                                                                                                                                                                            FREEDOM LAW FIRM
                                                                                                                         10

                                                                                                                         11                                                 By: /s/ Gerardo Avalos
                                                                                                                                                                            George Haines
                                                                                                                         12                                                 Nevada Bar No. 9411
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                                                                            Gerardo Avalos
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                                                                                                                                                                            Attorneys for Plaintiff
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                                                                                                                         18                                           ORDER
                                                                                                                         19         IT IS SO ORDERED:
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                                                                                                                         21                                           UNITED STATES MAGISTRATE JUDGE
                                                                                                                         22
                                                                                                                                                                      DATED:       June 24, 2022
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